
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                 ____________________

          No. 96-2163

                           BATH IRON WORKS CORPORATION and
                         COMMERCIAL UNION INSURANCE COMPANY,

                               Petitioners, Appellants,

                                          v.

                 DIRECTOR, OFFICE OF WORKERS' COMPENSATION PROGRAMS,
                          UNITED STATES DEPARTMENT OF LABOR,

                               Respondents, Appellees.

                                 ____________________


                         ON PETITION FOR REVIEW OF A DECISION

                             OF THE BENEFITS REVIEW BOARD

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________

                            Aldrich, Senior Circuit Judge,
                                     ____________________

                               and Lynch, Circuit Judge
                                          _____________

                                 ____________________


               Kevin M. Gillis with whom Troubh, Heisler &amp; Piampiano was on
               _______________           ___________________________
          brief for petitioners.
               G. William Higbee with whom McTeague, Higbee, MacAdam, Case,
               _________________           ________________________________
          Watson &amp; Cohen was on brief for respondents.
          ______________

                                 ____________________

                                   March 06, 1998
                                 ____________________





















                      ALDRICH, Senior Circuit Judge.  Russell E. Harford,
                               ____________________

            Jr., a long time insulation installer for defendant Bath Iron

            Works Corp. (BIW),  had to quit work because  of shortness of

            breath.   Suit  is brought  on  his behalf  by the  Director,

            Office  of Workers' Compensation Programs, U.S. Department of

            Labor, under the Longshore  and Harbor Workers'  Compensation

            Act  (LHWCA), 33  U.S.C.    901  et  seq.,  for  work-related
                                             __  ____

            disability due to "Asbestosis  and related diseases."  It  is

            undisputed that Harford  developed lung  cancer, and  further

            that his smoking  two plus packs of  cigarettes a day  for 32

            years was a basic cause.  It  is also undisputed that, though

            he  did not work  with asbestos, he  was exposed to  the dust

            from  neighboring workplaces.    He seeks  to  bring in  this

            exposure as  a contributor to  his cancer in order  to charge

            the employer and its insurer.

                      Trial   was  had  before  an  ALJ  on  letters  and

            depositions  of medical  experts.   In his decision,  the ALJ

            stated that  the asbestos did not have to be the "sole cause"

            of the  cancer for claimant  to recover.  Rather,  the entire

            disability would be compensable  if the asbestos  contributed

            to, combined with, or aggravated it.1  In short, the ultimate

                              
          ____________________

            1.  We note that the Board, similarly to the ALJ, viewed the
            issue as whether "claimant's exposure to asbestos did . . .
            cause or contribute to his lung cancer."  The parties share
            this conception.  Thus, we understand "aggravate" to be
            essentially synonymous with "contribute," and to refer to the
            cancer.  No claim has been made for aggravation of associated

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            question was whether there was a "causal relationship between

            Claimant's employment and his lung cancer."  The first issue,

            however,  was  whether  the employer  had  met  the statutory

            presumption  in claimant's favor.   Title 33  U.S.C.   920(a)

            presumes,  "in the  absence of  substantial  evidence to  the

            contrary-- (a) That  the claim comes within the provisions of

            [the  Act]."  After  extensive review  and discussion  of the

            evidence,  the ALJ found  that the presumption  was rebutted,

            which  caused  it  to  "fall".    See  Sprague  v.  Director,
                                              ___  _______      _________

            O.W.C.P., 688  F.2d 862, 865  (1st Cir. 1982).   Weighing the
            ________

            evidence  without  the  presumption, he  found  there  was no

            causal  relationship  between claimant's  employment  and his

            cancer.  It  is to be stressed that this was  not for lack of

            proof by the claimant, but by belief of  affirmative evidence

            submitted  by  the employer.    Claimant did  not,  he found,

            contract asbestosis, and asbestos without  asbestosis did not

            cause or contribute to the cancer.  

                      The  Benefits  Review  Board   reversed  the  ALJ's

            finding that  the presumption  in claimant's  favor had  been

            rebutted, thereby ending the defense.  We reverse.

                        Decision of the Benefits Review Board
                        _____________________________________

                      With  reference  to   the  presumption,  the  Board

            stated,  "[The] employer's burden on rebuttal [is] to present

                              
          ____________________

            symptoms.  Cf. Gardner v. Director, O.W.C.P., 640 F.2d 1385,
                       ___ _______    __________________
            1389 (1st Cir. 1981).

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            specific and  comprehensive evidence sufficient to  sever the

            causal connection between the injury and the employment."  It

            added,  "The unequivocal  testimony of  a  physician that  no

            relationship  exists  .  .  .  is  sufficient  to  rebut  the

            presumption."     This  positive   language   it  recast   as

            "unequivocally  severs."    "Unequivocal,"  on  a  search  of

            dictionaries, universally means "not  doubtful," or the like,

            which we take to mean certainty.   That the Board so intended

            is  inescapably  confirmed  by  its  response  to  employer's

            expert, Dr. Cadman's unwillingness to be  absolutely certain.

            Because  Dr.  Cadman,  in the  Board's  words,  conceded that

            "asbestos  may have contributed to claimant's lung cancer and

            that  he   could  not   exclude  that   exposure  as   having

            contributed"  to   it,  the   Board  thought   his  testimony

            insufficient to rebut the presumption.

                      As  we  have previously  held,  the  presumption is

            overcome with  substantial  evidence of  non-causation.   See
                                                                      ___

            Sprague,  688  F.2d at  865.   Substantial evidence  is "such
            _______

            relevant  evidence as  a  reasonable  mind  might  accept  as

            adequate  to  support  a conclusion."    Id.  (quotations and
                                                     ___

            citation omitted).   This  means "reasonable  probabilities."

            Cf. DaSilva v. American Brands,  Inc., 845 F.2d 356, 361 (1st
            ___ _______    ______________________

            Cir. 1988); Bath Iron Works Corp. v. Director,  O.W.C.P., 109
                        _____________________    ___________________

            F.3d 53, 56 (1st Cir.  1997); Oberlander's Case, 348 Mass. 1,
                                          _________________

            7,  200  N.E.2d  268 (1964)  (Workmen's  Compensation).   Dr.


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            Cadman's medical opinion was found insufficient by the Board,

            however,  because he  could not  exclude  possibilities --  a

            typical expert opinion.  This put an impossible burden on the

            employer.

                      We   have,  therefore,  two  questions.    Did  the

            employer submit substantial evidence,  when properly defined?

            (A  question  of  law  for   the  court,  not  dependent   on

            credibility.  See  Sprague, 688 F.2d at 865; CNA  Ins. Co. v.
                          ___  _______                   _____________

            Legrow, 935  F.2d 430, 433-34 (1st Cir.  1991)).  At the same
            ______

            time,  we  may ask  whether  the  ALJ  was warranted  in  his

            substantive findings.   In this connection we  note 33 U.S.C.

              921(b)(3),

                           The findings of fact in the decision
                      under  review  by  the   Board  shall  be
                      conclusive  if  supported  by substantial
                      evidence  in the  record considered  as a
                      whole.

            This means, obviously, that the ALJ's choice of inferences is

            to be respected.  See Sprague, 688 F.2d at 866 ("In reviewing
                              ___ _______

            for  substantial evidence  it is  immaterial  that the  facts

            permit diverse inferences  as long as those drawn  by the ALJ

            are supported by evidence.").

                                  The ALJ's Decision
                                  __________________

                      The ALJ's  conclusions are  backed by  an extensive

            discussion  of the  several experts.   One  or more  of BIW's

            experts  testified  that current  medical  evidence indicates

            that a finding of interstitial fibrosis is necessary to reach


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            a diagnosis of  asbestosis.  There was testimony  that tissue

            samples  and x-ray analyses produced no evidence that Harford

            had asbestosis; that he did not have fibrosis  at the time of

            his surgery, and  that the alveolar damage found  in a biopsy

            some  months later was  caused by radiation  and chemotherapy

            rather than by asbestos exposure.  

                      Two experts  testified on causation of  the cancer.

            Dr. Cadman's conclusion was,

                      [C]urrent    evidence    evaluating   the
                      association  of  asbestos  exposure, lung
                      fibrosis and lung cancer strongly suggest
                      [sic]   that  the   excess  lung   cancer
                                    ___________________________
                      attributable  to  asbestos  is associated
                      _________________________________________
                      with fibrosis.  Therefore, lung cancer in
                      _____________
                      the absence of pulmonary fibrosis is most
                      likely lung cancer which developed either
                      from the effects of  smoking alone or  it
                      arose unrelated  to any  known carcinogen
                      as  occurs in  the  non-smoker. . . .   I
                      believe that in  the absence of fibrosis,
                      that [Mr. Harford's] lung cancer was most
                      likely  the   result  of   prior  smoking
                      history. (emphasis added).

                      The ALJ concluded,

                      Based on the  record medical evidence,  I
                      determine that the employer/carriers have
                      produced   specific  objective   clinical
                      evidence  and  soundly  reasoned  medical
                      opinions sufficient  to sever  the causal
                      nexus  and  have   thereby  rebutted  the
                      Section 20 presumption.

            Since   the  ALJ  had  stated  earlier  that  cause  included

            contribution, we find  that the ALJ was  warrantably covering

            both in this  finding.  Dr. Cadman reasonably  could be found

            as of  the opinion  that diffuse  interstitial fibrosis  (and


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            therefore  asbestosis)  is  generally present  when  asbestos

            exposure is a  contributing cause to lung cancer.   Viz., the

            probability  is   against   asbestos,  in   the  absence   of

            asbestosis.   In other  words, asbestos  exposure had  had no

            belated, contributory, effect, as well as no original effect.

            We believe, following Dr. Cadman's reference to "excess" lung

            cancer, particularly  when there  had been  negative evidence

            covering  the  period  between  surgery  and  the  subsequent

            biopsy, that his  last quoted sentence  is not to be  read as

            limiting his opinion  to the original cancer.   In short, Dr.

            Cadman's opinion  is substantial  evidence of  non-causation,

            sufficient  both to  rebut the presumption  and to  support a

            finding for BIW.

                                        Next?
                                        _____

                      First, an  observation.  Harford's claim  was filed

            on March  20, 1989, just short of nine  years ago.  The ALJ's

            unfavorable decision  on the  merits was  filed  on June  10,

            1991; the Board's remand for a hearing on damages on November

            23,  1993.   BIW's petition  for review  of the  ALJ's damage

            finding was  filed July 7,  1994.  This finding  was affirmed

            automatically   under  the   statute,  Omnibus   Consolidated

            Rescissions and Appropriations Act of  1996, Pub. L. No. 104-

            134,    101(d), 110 Stat.  1321, 1321-219 (1996),  because of

            the   Board's  not  having  passed  on  the  petition  before

            September 12, 1996.  We believe the time  has come to resolve


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            matters.  If  we remand the case  to the Board to  review the

            ALJ's  decision  on the  merits,  it  will  be bound  by  his

            findings in the absence of error. See 33 U.S.C.    921(b)(3).
                                              ___

            Why  the unnecessary  steps?   The  short answer  is that  we

            should take over  finally now.  And, indeed,  we have already

            reviewed the ALJ's detailed and careful opinion.  Substantial

            evidence  supports the  ALJ's conclusion  that  there was  no

            causal relationship.  We find no error.

                      The  decision  of  the  Benefits  Review  Board  is
                      ___________________________________________________

            reversed, and the denial of  claim of Russell E. Harford, Jr.
            _____________________________________________________________

            is reinstated.
            ______________





                                 - Dissent follows -
























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                      LYNCH, Circuit  Judge, dissenting.   The  record in
                      LYNCH, Circuit  Judge, dissenting.
                             ______________

            this  case sets  forth substantial  evidence  to support  the

            Board's finding  that the employer, which had  rebutted the  

            920(a) presumption  that asbestos exposure  caused claimant's
                                                        ______

            lung  cancer, did  not  rebut the    920(a)  presumption that

            asbestos exposure contributed  to claimant's lung cancer.   I
                              ___________

            would affirm the Board.  

                      The  employer's   evidence  all  went   to  initial

            causation  with  one  exception.    That  exception  was  the

            testimony of  its lead expert,  Dr. Cadman, and it  tended to

            support claimant  on the  contribution issue.   In  testimony

            introduced at the hearing, Dr. Cadman was invited and refused

            to  testify  that  he  could  say  to  a  reasonable  medical

            probability that  asbestos had  not contributed  to Harford's
                                                ___________

            cancer.   Rather, Dr. Cadman  testified that 10-15% of people

            with  occupational  exposure  to  asbestos who  develop  lung

            cancer  do   not  experience  fibrosis  in  the  lungs.    He

            specifically  stated  (after  a  direct  question  on whether

            asbestos could  have contributed  to  Harford's cancer)  that

            asbestos  exposure "may be contributing," even in the absence

            of asbestos-caused fibrosis, "although at a very small level,

            because he does not have fibrosis."  

                      There is a crucial difference,  acknowledged in our

            case  law, between employment-related  injuries that  are the

            primary  cause of a  disability and those  which aggravate or


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            contribute  to  a  pre-existing  condition.    See  Director,
                                                           ___  _________

            O.W.C.P. v. Bath Iron  Works Corp., 129 F.3d 45, 50 (1st Cir.
            ________    ______________________

            1997); Bath Iron Works Corp. v. Director, O.W.C.P., 109  F.3d
                   _____________________    __________________

            53, 55 (1st Cir. 1997).  Under the "aggravation rule," even a

            small   contribution  by  a  work-related  condition  to  the

            claimant's disability  is sufficient to trigger full recovery

            under the  LHWCA; primary causation  need not be shown.   See
                                                                      ___

            Hensley v.  Washington Metro.  Area Transit  Auth., 655  F.2d
            _______     ______________________________________

            264, 268 (D.C. Cir. 1981).  The aggravation rule embodies the

            essentially humanitarian purposes  of the LHWCA.   It assures

            that  a  claimant  is  compensated  where  employment-related

            injury is not  the sole cause  of the claimant's  disability.

            Here,  Dr. Cadman  testified that  the  absence of  asbestos-

            caused fibrosis  is not  sufficient evidence  to support  the

            conclusion  that  asbestos  exposure did  not  contribute  to

            Harford's   cancer.    BIW   therefore  did  not   rebut  the

            presumption that  asbestos exposure contributed  to Harford's

            lung cancer.   The absence of fibrosis proves  nothing on the

            contribution issue.

                      The ALJ erroneously conflated the primary causation

            and  contribution  analyses  and  incorrectly concluded  that

            where  there   was  no   primary  causation   there  was   no

            contribution, either.   The Board, performing these  analyses

            separately,  recognized  the  significance  of  Dr.  Cadman's

            testimony as to  contribution.  Because Dr.  Cadman expressly


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            stated that asbestos  exposure could have contributed  to the

            cancer  in the  absence  of  fibrosis,  the  Board  correctly

            reversed.  In light of the purposes of the Act, manifested by

            the    920(a)  presumption,  and  the  precedent  that  close

            questions should  be decided in  favor of  the claimant,  see
                                                                      ___

            Bath  Iron Works Corp. v. White,  584 F.2d 569, 574 (1st Cir.
            ______________________    _____

            1978), I respectfully dissent.






































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